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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                  )
 BI-LEVEL PAP, AND MECHANICAL                   )       Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                            )
 LITIGATION,                                    )       MDL No. 3014
                                                )
 This Document Relates to:                      )
                                                )
 Personal Injury Claimants and Potential        )
 Claimants                                      )

                                 PRETRIAL ORDER NO. __
                                  APPOINTMENT ORDER

       Pursuant to the joint motion (Dkt. ___) and in accordance with the terms of the Master

Settlement Agreement (“MSA” or the “Settlement”), and pursuant to Federal Rule of Civil

Procedure 53, the Court hereby appoints a Settlement Special Master, Settlement Administrator,

and Allocation Special Master, as set forth in more detail below.

       In the exercise of the Court’s authority to manage its docket and to ensure the timely and

efficient performance of the actions necessary to satisfy the conditions of the Settlement, it is

ORDERED:

       1.      BrownGreer PLC is appointed as the Settlement Administrator.

       2.      As Settlement Administrator, BrownGreer shall also serve as the administrator of

the Qualified Settlement Fund (“QSF”) and shall act as the fiduciary of the Settlement Fund in

accordance the MSA with specific powers to include retention of the trust estate, investments and

preservation of principal, disbursements, payments of administrative expenses and costs,

retention of investment advisors and other agents, consultation with counsel, and execution of

documents contemplated by the MSA.

       3.      BrownGreer, as Settlement Administrator, shall prepare the necessary documents

to establish a C.F.R. § 1.468B-1 Qualified Settlement Fund. Upon the establishment of the QSF,
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BrownGreer shall open a custodial bank account(s) and obtain a Taxpayer Identification Number

from the Internal Revenue Service.

      4.      The custodial bank account shall be opened with the Custodial Bank, Huntington

Bank, pursuant to the MSA.

      5.      For the purpose of Section 468B of the Internal Revenue Code, BrownGreer, as

Settlement Administrator, shall timely and properly provide all informational and other tax

returns necessary or advisable with respect to the QSF and the amounts held in the QSF, including

the returns described in Treasury Regulation §1.468B-2(k)(l). Such returns (as well as the election

described in Section 468B) shall be consistent with Section 468B and in all events shall reflect

that all taxes (including any estimated taxes, interest or penalties, or tax detriments) on the income

earned by the QSF shall be paid exclusively out of the QSF, in accordance with Section 468B.

      6.      BrownGreer, as Settlement Administrator, shall be solely responsible for

distribution of settlement proceeds upon the satisfaction of all conditions precedent.

      7.      To facilitate the performance of BrownGreer’s duties, as set forth above, all counsel

shall cooperate with reasonable requests for information from BrownGreer.

      8.      In connection with any authorized distribution made pursuant to the terms of the

MSA, BrownGreer shall determine the amount of any common benefit assessment in accordance

with this Court’s Pretrial Order No. 24 (ECF No. 717) and shall, at the Court’s or the Parties

request, provide an accounting of the same.

      9.      BrownGreer shall be responsible for coordination with and implementation of any

settlement program design, allocation methodology, and settlement document(s) requirements of

the Parties to the MSA. By way of example, this may include coordination and data

administration; implementation, application, and generation of Registered Claimant’s settlement



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offer vis-à-vis the Allocation Special Master methodology; building and transmitting a Settlement

disclosure packet to Eligible Claimants, among other tasks. The Settlement Administrator shall

work collaboratively with the Allocation Special Master to create and distribute a Settlement

disclosure packet to Eligible Claimants, and on reviewing, and coordinating review of the

information submitted by Eligible Claimants as part of the allocation methodology.

      10.     BrownGreer shall use the information collected from the Claimants and counsel to

perform eligibility determinations and qualify Eligible Claimants for participation in the

Settlement Program consistent with the MSA.

      11.     BrownGreer shall review all Claimant submissions and supporting records.

BrownGreer shall provide Defendants with copies of all Claimant Releases and stipulations of

dismissal, and hold such in trust pursuant to the MSA until such time as they should be released

in accordance with the MSA.

      12.     BrownGreer shall work with the Parties to design and implement fraud protection

measures, including to identify and reject fraudulent claims.

      13.     To facilitate the Parties’ settlement, the Court will appoint an independent, third-

party neutral to create an allocation methodology to calculate a settlement award for each Eligible

Claimant. As more fully described in the joint motion the Court finds that Matt Garretson

possesses the experience and qualifications that are appropriate and necessary to serve as

Allocation Special Master and the Court hereby appoints Mr. Garretson as Allocation Special

Master.

      14.     As Allocation Special Master, Mr. Garretson shall be responsible for designing an

allocation methodology which will be applicable to all Eligible Claimants. BrownGreer shall

apply the Allocation Special Master’s allocation methodology to all Eligible Claimants to



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calculate each Eligible Claimant’s settlement offer. The Allocation Special Master shall review

and approve BrownGreer’s application of the allocation methodology and resulting Eligible

Claimant settlement offer.

       15.     Other than the payment obligation set forth in Article 9 of the MSA, the Philips

Defendants shall have no responsibility for any fees, expenses, or costs in connection with

BrownGreer, the Allocation Special Master, or any other professional or process in connection

with the administration of the Settlement.

       16.     Consistent with the Parties’ agreement, the Court appoints Judge Diane M. Welsh

(ret.) as Settlement Special Master.

       17.      The Settlement Special Master is appointed to decide potential disputes between

the Parties concerning the MSA.

       18.     The Settlement Special Master’s decisions over these disputes are final and non-

reviewable or appealable.

       19.     The Settlement Special Master shall serve until she certifies to the Court, after

consultation with the Parties, that there are no further disputes that she will be asked to resolve in

accordance with this appointment.

       20.     The Settlement Special Master must maintain normal billing records of time spent

on this matter with reasonably detailed descriptions of her activity, and she should incur only such

fees and expenses as may be reasonably necessary to fulfill her duties under this Order and her

agreement with the parties.

       21.     Within seven days of the date of this Order, BrownGreer, the Settlement Special

Master, and the Allocation Special Master must file affidavits disclosing whether there is any

ground for disqualification under 28 U.S.C. § 455.



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      22.     The persons and entities appointed by this Order are permitted access to all

information regarding all Claimants and plaintiffs in this MDL, may use such information as is

necessary for the implementation of the Settlement, and shall maintain its confidentiality in

accordance with any Order of this Court and otherwise applicable law.

      23.     This Court retains continuing jurisdiction to enforce and resolve any dispute arising

out of the Settlement agreement, including the services of the persons and entities appointed in

this Order, until such time as all conditions to the Settlement have been satisfied and any filed

cases have been dismissed.

IT IS SO ORDERED.

DATED: May __, 2024


                                                            ___________________________
                                                            The Honorable Joy Flowers Conti
                                                            United States District Judge




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AGREED TO THIS __ DAY OF May, 2024:

  /s/ John P. Lavelle, Jr.                     /s/ Christopher A. Seeger
  John P. Lavelle, Jr.                         Christopher A. Seeger
  Lisa C. Dykstra                              SEEGER WEISS LLP
  MORGAN, LEWIS & BOCKIUS LLP                  55 Challenger Road, 6th Floor
  2222 Market Street                           Ridgefield Park, NJ 07660
  Philadelphia, PA 19103-3007                  (973) 639-9100 (phone)
  (215) 963-5000 (phone)                       cseeger@seegerweiss.com
  john.lavelle@morganlewis.com
  lisa.dykstra@morganlewis.com                 /s/ Sandra L. Duggan
                                               Sandra L. Duggan
  /s/ Wendy West Feinstein                     LEVIN SEDRAN & BERMAN LLP
  Wendy West Feinstein                         510 Walnut Street, Suite 500
  MORGAN, LEWIS & BOCKIUS LLP                  Philadelphia, PA 19106
  One Oxford Center, 32nd Floor                (215) 592-1500 (phone)
  Pittsburgh, PA 15219-6401                    sduggan@lfsblaw.com
  (412) 560-3300 (phone)
  wendy.feinstein@morganlewis.com              /s/ Steven A. Schwartz
                                               Steven A. Schwartz
  /s/ Erik T. Koons                            CHIMICLES SCHWARTZ KRINER &
  Erik T. Koons                                DONALDSON-SMITH LLP
  BAKER BOTTS LLP                              361 West Lancaster Avenue
  700 K St. NW                                 Haverford, PA 19041
  Washington, DC 20001                         (610) 642-8500 (phone)
  (202) 639-7973 (phone)                       steveschwartz@chimicles.com
  erik.koons@bakerbotts.com
  andrew.george@bakerbotts.com                 /s/ Kelly K. Iverson
                                               Kelly K. Iverson
  /s/ Andrew T. George                         LYNCH CARPENTER, LLP
  Andrew T. George                             1133 Penn Avenue, 5th Floor
  BOURELLY, GEORGE + BRODEY LLP                Pittsburgh, PA 15222
  1050 30th Street, NW                         (412) 322-9243 (phone)
  Washington, DC 20007                         kelly@lcllp.com
  (202) 753-5012 (phone)
  andrew.george@bgblawyers.com
                                               /s/ Roberta D. Liebenberg
  Counsel for Defendant Philips RS North       Roberta D. Liebenberg (Chair)
  America, LLC                                 FINE, KAPLAN AND BLACK, R.P.C.
                                               One South Broad Street, 23rd Floor
  /s/ Michael H. Steinberg                     Philadelphia, PA 19107
  Michael H. Steinberg                         (215) 567-6565 (phone)
  SULLIVAN & CROMWELL LLP                      rliebenberg@finekaplan.com
  1888 Century Park East
  Los Angeles, CA 90067                        Plaintiffs’ Negotiating Counsel
  (310) 712-6670 (phone)

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steinbergm@sullcrom.com

/s/ William B. Monahan
Tracy Richelle High
William B. Monahan
SULLIVAN & CROMWELL LLP
125 Broad Street
New York, NY 10004
(212) 558-4000 (phone)
hight@sullcrom.com
monahanw@sullcrom.com
Counsel for Defendants Koninklijke Philips
N.V., Philips North America LLC, Philips
Holding USA Inc., and Philips RS North
America Holding Corporation




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